                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )       No. 3-14-00071
v.                                           )
                                             )
JOE FUQUA                                    )


                                           ORDER


       A hearing is scheduled on Tuesday, October 21, 2014, at 3:00 p.m., to address the Petition

filed by Pretrial Services (Docket Entry No. 122).

       It is so ORDERED.




                                             JULIET GRIFFIN
                                             United States Magistrate Judge




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